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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

   ELIZABETH SINES, ET AL.,                         │
                                                    │
                  Plaintiffs,                       │
                                                    │
          v.                                        │ Civil Action No. 3:17-cv-00072
                                                    │
   JASON KESSLER, ET AL.,                           │
                                                    │
                  Defendants.                       │
                                                    │

    DEFENDANTS LEAGUE OF THE SOUTH, MICHAEL HILL, & MICHAEL TUBBS’S
    RESPONSE TO PLAINTIFF’S MOTION IN LIMINE AND PLAINTIFF’S RESPONSE
                    TO DEFENDANT’S MOTION IN LIMINE

          Defendants League of the South, Michael Hill, and Michael Tubbs, by and through

   Counsel, moved this court for a pre-trial order on the admissibility of the following evidence:

      1. The Heaphy Report,

      2. Michael Tubbs’s felony conviction, and

      3. The following adjudicative facts:

               a. On June 13, 2017, Jason Kessler obtained a permit from the City of

                  Charlottesville to conduct a demonstration at Emancipation Park on August 12,

                  2017.

               b. On August 7, 2017, the City of Charlottesville attempted to revoke Kessler’s

                  permit to conduct a demonstration at Emancipation Park on August 12, 2017.

               c. On August 11, 2017, this Court enjoined the City from revoking Kessler’s permit

                  to hold a demonstration at Emancipation Park on August 12, 2017.

   Plaintiffs filed a motion asking this Court to exclude the Heaphy Report and a Response to

   Defendants’ Motion in Limine.


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      I.       The Heaphy Report

            Plaintiffs first argue that the Heaphy Report does not qualify as an exception to the

   hearsay rule because it is hearsay. Plaintiffs’ argument is circular and lacks merit.

            Plaintiffs also argue that the Heaphy Report is unreliable. Plaintiffs’ argument

   misunderstands the Report and is internally inconsistent with arguments in the same court filing.

   In their court filing, plaintiffs argue on the one hand that the Heaphy Report is unreliable, but

   then argue that two newspaper articles from thirty years ago are reliable enough to provide a

   basis for the admission of Michael Tubbs’ thirty-year-old felony conviction. A side-by-side

   comparison of the Heaphy Report and the two articles submitted by plaintiffs shows that the

   Heaphy Report qualifies as reliable under plaintiffs’ own standard.

            The newspaper articles that plaintiffs offer were written thirty years ago. By contrast, the

   Heaphy Report was produced less than five years ago. The Heaphy Report is based on a review

   of hundreds of thousands of documents and interviews with dozens of witnesses. The newspaper

   articles that plaintiffs offer are significantly based on the statements of someone associated with

   “Klanwatch, a not-for-profit group that monitors extremist groups.” This Court has reason to

   trust the reliability of the work of Mr. Heaphy, the former U.S. Attorney for the Western District

   of Virginia. Plaintiffs have failed to proffer facts to establish the reliability, independence, or

   impartiality of Klanwatch. Plaintiffs have provided no persuasive reason to believe that the

   Heaphy Report was not an independent and thorough investigation of the events of August 12,

   2017, and therefore, it should be admitted as evidence in this trial.

            Defendants only wish to introduce pages 127 through 139 of the Heaphy Report. Most of

   that information is based on bodycamera footage and other publicly available video footage.

      II.      Michael Tubbs’s Felony Conviction




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          Pursuant to FRE 609, defendants previously moved this Court for an order barring

   plaintiffs from introducing evidence or making mention at trial of Michael Tubbs’s felony

   conviction. Defendants argued that evidence of Michael Tubbs’s felony conviction was

   inadmissible because the conviction occurred more than ten years ago, and plaintiffs had not

   provided sufficient advanced written notice of an intent to introduce such evidence, as required

   by the Rules of Evidence.

          The first notice provided by plaintiffs that they intend to introduce evidence of Michael

   Tubbs’ thirty-year-old felony conviction was in a court filing on October 12, 2021. This is

   insufficient advanced notice as required by the Rules of Evidence, and for that reason, this Court

   should exclude it. October 12, 2021 is less than two weeks before trial and defendants are

   prejudiced by this late disclosure because they lack sufficient time to investigate or substantiate

   the claims that plaintiffs are suddenly making about the thirty year old conviction.

          Plaintiffs’ other arguments are unpersuasive that Tubbs’ thirty year old conviction

   qualifies for admissibility under other rules of evidence. Plaintiffs have failed to establish any

   connection between Charlottesville and Tubbs’ felony conviction. Plaintiffs admit that Tubbs

   was not even a member of the League of the South until 2000 and the League of the South did

   not even exist at the time of Tubbs’ felony conviction. Plaintiffs have failed to establish that

   anyone involved in the felony case, other than Tubbs, was also involved with any part of

   Charlottesville. In addition, plaintiffs rely on thirty-year-old newspaper articles to establish the

   relevancy of the conviction. Plaintiffs have submitted one court filing in support of their position,

   but nothing in the court filing establishes the relevancy of the conviction. The unsubstantiated

   information in thirty year old newspaper articles is insufficient to rebut the presumption against

   the admissibility of an over thirty year old conviction.




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       III.      Judicial Notice of Jason Kessler’s Permit

              Defendants rely on their arguments already submitted in support of this Court taking

   judicial notice of certain facts.

                                                          Respectfully submitted,

                                                          /s/ Bryan J. Jones____
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                                                          Counsel for Defendants Michael Hill,
                                                          Michael Tubbs, and League of the South

                                       CERTIFICATE OF SERVICE

           I certify the above was served on October 12, 2021 on all ECF participants and that
   parties requiring service by other means were served as follows:

   Elliott Kline a/k/a Eli Mosley: eli.f.mosley@gmail.com & deplorabletruth@gmail.com
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                                                          /s/ Bryan J. Jones____
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                                            Counsel for Defendants Michael Hill,
                                            Michael Tubbs, and League of the South




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